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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION
G. Matt Johnson and
Lora Hubbel -#18-4108
Plaintiff's
VS. Intervenor’s Response

. To Plaintiff's Motion For

Bartlett, in his official capacity as AnOrder _

Secretary of State, ,
Defendant

vs.

Dr. Terry Lee LaFleur, in his official capacity as
Constitution Party of South Dakota
Candidate for Governor,

Intervenor.

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COMES NOW, THE INTERVENOR, Dr. Terry Lee LaFleur, Attorney Pro Se,.and for his Response,
joins the Defendant Steven Barnett, in-his motion to dismiss this cause action in 18-4108, for the

following reasons:

1. That on February 2, 2017, Lora Hubbel did by express written notice, filed with the sitting
Treasurer of the Constitution Party of South Dakota (i.e. the CPSD) Ms. Lori Stacey, duly elected as
Treasurer on July 11, 2016, for a term of Four years, received and accepted a letter of resignation from
Ms. Hubbel and therein acted upon it in accordance with the CPSD By-Laws and state statute, gave
notice, advising Mr. Joel Bergan that in accordance with Robert’s Rules, Joel was then the new Central

Committee Chairman of the CPSD. Joel Bergan rejected his right to CPSD Chairman. See Attachments.

2. Ms. Hubbel not only resigned as Chairman of the CPSD, but Hubbel changed Party status and

rejoined the Republican Party as a candidate for Governor, and contemporaneously as a candidate for

1.
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Senator, and Hubbel participated in the June 5, 2018 Primary. Hubbel failed to be nominated as a

candidate for her District Senate seat.

3. That on July 12, 2018, Lora Hubbel returned to the CPSD and impersonated herself as the
Chairman of the Central Committee of the CPSD in a failed attempt to retake her position previously
resigned from. Hubbel tied to nearly everyone that she had in fact not resigned as Chairman of the

CPSD, but the record irrefutably proves otherwise. Count One -Election Fraud.

4. Ms. Lori Stacey caused to be filed documents In compliance with SDCL §§ 12-27-6 Statement of
Organization and a Writing in accordance with 12-5-14 giving actual notice to Shantel Krebs, the then
sitting Secretary of State, that Ms. Hubbel had resigned in writing, and that Joel Bergan had appointed
her Interim Chairman pending the 2020 elections. These documents substantially complied with SDCL
Codified Election Laws and were filed and received by Shantel Krebs on or before February 6, 2017. See

Attachments.

5. Then on July 13, 2018, Lora Hubbel caused to be filed a calling for a Convention to be held on
August 14, 2018. Ms. Hubbel called this Convention as the “Chairman of the South Dakota Constitution
Party” a named political party that doesn’t exist anywhere in the State of SD. Count Two — Election

Fraud. See Attachments.

6. On July 15, 2018, Ms. Lori Stacey caused to be filed a calling for a Convention to be held in
substantial compliance with SDCL § 12-5-17. Biennial state convention—Time and place--Notice to
secretary of state. Each political party shall hold a state convention in each even-numbered year in
which they are necessary for the purposes of § 12-5-21. The time and place of holding such convention

shall be determined by the State Central Committee of each political party, the chairman of which shall

notify the secretary of state at least thirty days previous to the date so chosen. See Attachment.

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7. That Ms. Lori Stacey then caused to be filed a Publication in the Argus Leader on July 31, 2018,

in substantial compliance with SDCL § 17-2-2.1.

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CONSTITUTION PARTY OF SOUTH DAKOTA
C/O Mi GUNN

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STATE OF SOUTH DAKOTA

COUNTY OF MINNEHAHA
Sara Krone being duly sworn. suns: That The Arges Leader is, and
during all the times hereinafter mentioned wan, mn diaily lenal

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8. Ms. Lori Stacey is authorized as necessary by the CPSD By-Laws and State statute in the best

interest of the CPSD. See CPSD By-Laws § D(2)(f). See Attachments.

9. Sometime between July 21, 2018 and September 27, 2018, Ms. Hubbel fraudulently identified
Joel Bergan as still being the Chairman of the CPSD. This on and off pattern continues even until today.
During the Preliminary hearing on September 27, 2018, Ms. Hubbel admitted for the first time publicly,
that she had in fact resigned on February 2, 2017 which made her claims as Chairman Moot; Hubbel has
again proffered a lie on this Court, when she lied to the Court and claimed that the date on Joel Bergan’s
letter of resignation was a typo. Ms. Hubbel has committed yet another felony crime identified under
SDCL § 22-39-36. Forgery--Felony. Any person who, with intent to defraud, falsely makes, completes, or
alters a written instrument of any kind, or passes any forged instrument of any kind is guilty of forgery.
Forgery is a Class 5 felony. Hubbel committed the crime of forgery when she falsely claimed Joel’s
letter of resignation was dated incorrectly. And that the true date of his resignation was August 21,

2018. This was offered into evidence orally at the September 27, 2018 Preliminary hearing.

What this lie accomplished for Ms. Hubbel is not clear, but it is definitely fraud. In a secretly
recorded meeting between Mike Gunn, and Joel & Paula Bergan, Joel was very adamant and very upset
because Lora Hubbel and Gordon Howie failed to file his letter of resignation shortly after he submitted
it on July 21, 2018. Ms. Hubbel had to keep Joel on the hook, so to speak, because Joel Bergan certified

the Hubbel/Valaski (SIC) ticket to Shantel Krebs, the previous Secretary of State.

if Joel Bergan resigned on July 21, 2018, as he claims, rather than August 21, 2018, the
Hubbel/Johnson lawsuit would be Moot and should be dismissed because Joel certified their ticket

illegally; wherefore, Hubbel/Johnson have no standing to bring this cause of action whatsoever.

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10. The Intervenor has repeatedly requested a hearing be held, so that the Intervenor can play the

recording to the Court. Once this recording is made part of the case files, the 18-4108 lawsuit is over.

11. Ms. Hubbel is not only guilty of Forgery-Fraud, but she and other defendants are guilty of
Perjury, Conspiracy to Commit an illegal Act, Attempted Bribery, Extortion and Solicitation among other
offenses. The Intervenor respectfully hopes that criminal charges will be brought eventually against

those defendants involved in the coup d’état.

WHEREFORE:

The Intervenor respectfully joins the defendant, Steven Barnett, in his motion to dismiss civil case
number 18-4108 for all the reasons stated above.

The Intervenor respectfully requests a hearing to be held, wherein, the Intervenor can play the
one hour and fifteen-minute recorded meeting between Mike Gunn and Joel & Paula Bergan in its
entirety.

The Intervenor requests costs to be accessed to the Plaintiffs Hubbel and Johnson accordingly.

Respectfully Submitted,

Dr. Terry Leé LaFleur
4601 E. Clark St. Apt. 8
Sioux Falls, SD 57110
Attorney Pro Se

(605) 413-0274

PROOF OF SERVICE

The undersigned certifies that a true copy of the
foregoing was served

x Via US Mail postage Prepaid

on each party or their Attorney at their last known
ess on this /$7Mday of 2019.

Dr. Terry L@e LaFleur

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Copy to:

Attorney General Jason Ravnsborg Matt Johnson

1302 E. Hwy 14, Ste. 1 204 S. 7th Ave.

Pierre, South Dakota 57501 Brandon, South Dakota 57005
Attorney for Respondent Barnett

Steven Bartlett. _ Lora.Hubbel

500 E. Capital Ave. Ste. 204 4605 W. Graceland Ct.

Pierre, South Dakota 57501 Sioux Falls, South Dakota 57106
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D2, 2017
From: Lora Hubbel, Past Chair of Constitution Party

RE: Vice Chair to receive Chair duties
To South Dakota Constitution Party Board Members:

1, Lora Hubbel, resign my chairmanship and wish to announce to those co

‘Chair, Joel Bergan is next in line to serve in the Chair position,

Prom. hart Stacey binatiicuatenotac na yahoo cor

bent: juruaey, February OS, 20127 4:39 PM

Toe: Sctirevete, Fame fret
Subject: Re: VEAR END Campaigo Finance Report duc by Fepuery 6. 20) F SPM

Pesacteeet,
i was having difficulties getting inte the online campaign finance system. | witt be scanning and
i tee reports as | normally do but here are the teadership changes for the

it both
Party and « change of address.

Constitution Party of South Dakota

48106 Spring Vattiey Place
Brandon, SD S7008

Oeaer Secretary Krebs,

Lora Mubbel has decided to step down as State Chairman.
ce a met on Thursday evening, February 2, 2017 to fill vacancies duc
to State Chairman's resignation. The new and current party officers are as fottowing:

The Sb
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1. the same, you are not required to fill out Treasurer fields below.
ee - Jetters and notices. sent by the Secretary of State's office, wil go 10 the

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11.
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Section BD: Duties

1. . State Central Committee:

a. The State Central Committee shail formulate and provide for the execution of such policies, plans,
and measures as it may deem conducive to the best interests of the CPSD, and in conformity with the
State Party By-Laws.

b. it shail call all regular and special State Conventions and make arrangements therefore, including
the basis of representation, the time, place and manner.

2. State Chairman:

a. The State Chairman shall be the chief executive officer of the Party and Chairman of the State
Central Committee.

b. The State. Chairman shall issue the call for Statewide Conventions and shall preside at all .
meetings of the CPSD.

c. The State Chairman shall observe and enforce the by-laws and rules of the CPSD.

d. The State Chairman shall appoint necessary staff members to all standing and special committees.
e. The State Chairman shall be ex officio a member of all committees on State or County levels.

f. The State Chairman shall act as necessary to promote the functions of the CPSD.

12.

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Federal Court Clerk
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Spoux Falls, SO 57/07

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